      Case: 1:19-cv-03039 Document #: 26 Filed: 12/11/19 Page 1 of 67 PageID #:61



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JUSTIN DIAMOND,                                       )
                                                      )
       Plaintiff,                                     )
                                                      )       Case No. 17-cv-06041
       v.                                             )
                                                      )       Judge Kocoras
SIEMENS INDUSTRY, INC.,                               )       Magistrate Judge Cole
                                                      )
       Defendant.                                     )

                            PLAINTIFF’S MOTION TO QUASH
                          DEFENDANT’S NON-PARTY SUBPOENAS

       Plaintiff Justin Diamond hereby moves this Court, pursuant to Federal Rule of Civil

Procedure 45(c)(3), for an Order Quashing the Subpoenas for Documents that defendant Siemens

Industry, Inc., (“Siemens”) served upon four nonparties to this litigation. In support of its motion,

Mr. Diamond states as follows:

I.     SIEMENS’ SUBPOENAS

       Mr. Diamond filed his Complaint on May 6, 2019, alleging that his termination from

Siemens was discriminatory on the basis of his national origin after his supervisor directed

national-origin-related slurs against him and humiliated him in front of large groups of employees

based on his national origin. He also alleges that he was retaliated against after lodging extensive

complaints with multiple individuals and departments at Siemens.

       On November 25, 2019, Siemens provided notice to plaintiff’s counsel that it intended to

serve seven nonparty subpoenas on current and past employers and business partners of Mr.

Diamond. Among other information, Siemens sought correspondence, employment applications,

time and attendance records, disciplinary records, and payroll records from Mr. Diamond’s current

and prior employers and business partners. Exhibit A (Notice of Service of Subpoenas).
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       Mr. Diamond’s counsel objected to the service of these subpoenas, explaining that

       [c]ontacting current and prior employers is a tactic used to intimidate and harass,
       and the subpoenas seek information not reasonably related to the claims and
       defenses in this case. If you have questions about Mr. Diamond’s work at prior
       employers, you can ask him at his deposition – that is the least intrusive and least
       burdensome manner of seeking such information. If your argument is that you need
       prior work records to establish Mr. Diamond’s credibility, then issuing seven
       subpoenas is far overbroad. Even if relevant, the likely benefit of such discovery
       would be minimal and would probably be inadmissible at trial. The burden imposed
       by such subpoenas would be very substantial, as they could result in reputational
       damage to the plaintiff.

Exhibit B (Emails between counsel). Mr. Diamond’s counsel also provided additional reasoning

and case law from this District and elsewhere at the request of Siemens’ counsel. Id.

       In response, Siemens failed to adequately explain why it believed it could not obtain the

information it sought from a less-intrusive means, including by asking Mr. Diamond directly at his

deposition. Instead, it proposed to limit its subpoenas to four prior employers, rather than the

original seven, but it actually broadened the scope of requested documents to include

       [d]ocumentation pertaining to hire date, termination date, the reason for termination
       and the dates and/or reasons for any lay off during employment; Any and all
       documents reflecting any write-ups, written warnings, or other disciplinary action;
       and Documents related to grievances, complaints, and claims filed by Mr. Diamond.

Id. Plaintiff reiterated and clarified his objections and provided additional case law. On December

5, 2019, Siemens served notice that it had served the four subpoenas to Mr. Diamond’s prior

employers Apex Systems, Sikich, CareerBuilder, and WDRV 97.1 FM The Drive over plaintiff’s

objections. Exhibit C. As such, the parties have conferred in good faith but have been unable to

reach an accord.

II.    LEGAL STANDARD

       The scope of discovery under Rule 26 is broad but not unlimited: the 2015 amendments

limit discovery to “any non-privileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case, considering the importance of the issue at stake in the

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action…” as well as “the importance of the discovery in resolving the issues…” Fed.R.Civ.P.

26(b)(1). And like all forms of discovery, subpoenas issued pursuant to Rule 45 are limited to

relevant information. Salas v. 3M Company, et al., No. 08-CV-1614, 2008 U.S. Dist. LEXIS

124993, *2 (N.D.Ill. Aug. 28, 2008).

        The Court has broad discretion in ruling on a motion to quash. Peate v. McCann, 294 F.3d

879, 884 (7th Cir. 2002). Rule 26(c)(1) provides that a court may, “for good cause, issue an order to

protect a party or person from annoyance, embarrassment, oppression, or undue burden….” Under

Rule 45(c)(3), the court must quash or modify a subpoena that subjects a nonparty to undue burden.

Pac. Century Int’l, Ltd. v. Does 1-37, 282 F.R.D. 189, 193 (N.D. Ill. 2012). To determine whether a

subpoena is unduly burdensome, courts weigh several factors, including: (1) relevance; (2) the need

for the documents; (3) the scope of the document request; and (4) the burden imposed. Salas, 2008

U.S. Dist. LEXIS 124993 at *1.

        The party opposing discovery has the burden of showing the discovery is overly broad,

unduly burdensome, or not relevant. Pac. Century Int’l, 282 F.R.D. at 193. On motion by a party or

on the Court’s own motion, “the Court must limit discovery where it ‘can be obtained from some

other source that is more convenient, less burdensome, or less expensive,’ or where ‘the proposed

discovery is outside the scope permitted by Rule 26(b)(1).’” U.S. v. Handrup, 2016 U.S. Dist.

LEXIS 188443, *3 (N.D.Ill. July 11, 2016) (quoting Fed. R. Civ. P. 26(b)(2)(C)). In addition, the

Court may also “issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense….” Fed. R. Civ. P. 26(c)(1).

III.    ARGUMENT

        First, the subpoenas to Mr. Diamond’s prior employers do not seek relevant information. An

open-ended search through his employment files in the hope of finding evidence to impeach is

without basis. Siemens has articulated absolutely no legitimate reason it thinks such information

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might be relevant to any claim or defense. Instead, it appears Siemens’ subpoenas are an attempt to

locate irrelevant character evidence that has no bearing on whether Siemens discriminated against

or retaliated against Mr. Diamond on the basis of his national origin – a practice is certainly not

permitted by the Federal Rules. See Federal Rule of Evidence 404(a) (propensity evidence

inadmissible). Siemens is well aware that under this Rule, records from other employers may not be

used to infer bad conduct with the subject employer, even if such conduct were at issue in this case

(which it is not). Hogan v. Hanks, 97 F.3d 189, 191 (7th Cir. 1996); Handrup, 2016 U.S. Dist.

LEXIS 188443, at *2. To the extent Siemens intends to argue that it is entitled to other

“complaints” that Mr. Diamond has filed, Mr. Diamond has already answered Siemens’

interrogatories and has disclosed the sole complaint he filed against a prior employer – and has

explained that it was based on retaliation for reporting misconduct in the workplace. Siemens is

welcome to ask him about that complaint as his deposition.

       Second, the subpoenas are unduly harassing and burdensome. This Court has long

recognized that a plaintiff can suffer reputational damage when his prior employers are

subpoenaed. Handrup, 2016 U.S. Dist. LEXIS 188443, at * 2, Brown v. Yellow Transp., Inc., No.

08 C 5908, 2009 WL 3270791, at *5 (N.D. Ill. Oct. 9, 2009); Salas, 2008 U.S. Dist. LEXIS 124993

at (“[e]specially in employment discrimination cases, if filing such cases ‘opens up the prospect of

discovery directed at all previous, current, and prospective employers, there is a serious risk that

such discovery can become ‘an instrument for delay or oppression’”) (quoting Perry v. Best Lock

Corp., No. 98-936, 1999 WL 33494858, at *2 (S.D. Ind. January 21, 1999). The danger to Mr.

Diamond of reputational damage far outweighs any need Siemens has articulated for what appears

to be a fishing expedition.

       Third, Siemens has not sought less-burdensome means for obtaining the information.

Siemens has not even taken Mr. Diamond’s deposition. It cannot credibly argue that he has refused

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                                                   4
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to produce information related to prior employers until it asks him. See Moore v. PlasmaCare, Inc.,

No. 1:11-CV-01090-SEB, 2012 WL 602623, at *2 (S.D. Ind. Feb. 23, 2012) (“Requesting

information from [Plaintiff’s] current employer is premature and potentially duplicative.

[Defendant] should first access the information they seek directly from [Plaintiff] through taking

his deposition.”). Especially given the vanishingly slim relevance of any of these documents, the

breadth of Siemens’ subpoenas poses a burden on Mr. Diamond that outweighs their potential

benefit.

IV.    CONCLUSION

       For the reasons presented above, Mr. Diamond respectfully requests that the Court enter a

protective order preventing service on and/or an order quashing the four subpoenas served by

Siemens on Apex Systems, Sikich, CareerBuilder, and WDRV 97.1 The Drive.

Dated: December 11, 2019                     Respectfully Submitted,

                                             /s/ Jamie S. Franklin

Jamie S. Franklin, ARDC No. 6242916
THE FRANKLIN LAW FIRM LLC
53 W. Jackson Blvd., Ste. 803
Chicago, IL 60604
(312) 662-1008
(312) 662-1015 (fax)
jsf@thefranklinlawfirm.com




                                                        1.       5
                                                  5
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document, Plaintiff’s Motion to Quash, was
served via the Court’s ECF System on December 11, 2019 on the following parties:

                                            /s/ Jamie S. Franklin

Service List:

Maria A. Boelen
Baker & Hostetler LLP
One North Wacker Drive, Suite 4500
Chicago, IL 60606
mboelen@bakerlaw.com

Joyce Ackerbaum Cox
Baker & Hostetler LLP
SunTrust Center
200 South Orange Avenue, Suite 2300
Orlando, FL 32801
jacox@bakerlaw.com




                                              7      2.       7
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                              Exhibit A
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                               Exhibit B
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                                             Wednesday, December 11, 2019 at 09:27:12 Central Standard Time

Subject:    RE: Diamond v. Siemens
Date:       Monday, December 2, 2019 at 12:30:57 PM Central Standard Time
From:       Boelen, Maria A.
To:         jsf thefranklinlawﬁrm.com
CC:         Ackerbaum Cox, Joyce
ACachments: image030.jpg, image031.jpg, image032.jpg, image002.jpg, image004.jpg, image006.jpg,
            image008.jpg, image009.jpg, image010.jpg, image012.jpg, image013.jpg, image014.jpg,
            image016.jpg

Jamie,

The cases you cite do not prohibit limited discovery requests to Mr. Diamond’s former employers and are
certainly not disposiUve. They merely indicate that Siemens should idenUfy speciﬁc reasons why informaUon
sought is relevant to a parUcular claim or defense. Whether those reasons jusUfy the requests is a fact-
intensive inquiry, and I am conﬁdent that if we were to present this issue to Judge Cole that he would base his
decision on the speciﬁc facts before him. The holdings of the cases you cite are fact speciﬁc.

Salas involved a claim of wrongful denial of FMLA leave, and the court found that the defendant did not
present a suﬃcient basis for intruding into the plainUﬀ’s present employment relaUonship. As stated
previously, we agreed not to send the subpoena to System4 based on the informaUon currently known to us.
Unlike in Salas, Mr. Diamond’s performance is as issue. Further, Mr. Diamond admi^ed to ﬁling a similar
discriminaUon complaint against a prior employer. Accordingly, our requests to prior employers regarding his
disciplinary history and prior complaints or grievances are reasonably jusUﬁed and related to the claims and
defenses in this case.

In Yellow, the proposed subpoenas did not include any reasonable limitaUons, and the employer asserted two
basis for requesUng the informaUon that are irrelevant to our case. The ﬁrst jusUﬁcaUon involved whether a
named plainUﬀ would fairly and adequality represent the proposed class, and the second jusUﬁcaUon failed
because the court found that the employer’s speciﬁc reason for issuing the subpoenas was insuﬃcient to
jusUfy their broad scope. As stated previously, we proposed reasonable limitaUons, which are jusUﬁed by the
facts in this case.

Autozone also addressed subpoenas to the claimants’ subsequent employers. Even though your client states
that he did not receive any subsequent oﬀers of employment, we are willing to forego discovery with respect
to his current business relaUonships at this Ume. We conUnue to reserve the right to reconsider if we uncover
any informaUon that would jusUfy seeking such discovery.

In light of your concerns, we presented you with a proposal to reasonably limit the subpoenas. We are not
required to take your client’s word at face value, and his contenUons at a deposiUon do not foreclose further
inquiry. See Surgery Ctr. at 900 N. Michigan Ave., LLC v. Am. Physicians Assurance Corp., Inc., 317 F.R.D. 620
(N.D. Ill. 2016). If you have speciﬁc concerns with any of our limited requests or you would like to present a
counterproposal, please let us know.

Regards,

Maria Boelen
Associate


One North Wacker Drive | Suite 4500


                                                                                                           Page 1 of 7
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Chicago, IL 60606-2841
T +1.312.416.8174

mboelen@bakerlaw.com
bakerlaw.com




From: jsf thefranklinlawﬁrm.com <jsf@thefranklinlawﬁrm.com>
Sent: Wednesday, November 27, 2019 7:52 AM
To: Boelen, Maria A. <mboelen@bakerlaw.com>; Ackerbaum Cox, Joyce <jacox@bakerlaw.com>
Subject: Re: Diamond v. Siemens

Maria,

Please explain why you think you have a “reasonable basis” for seeking the discovery
covered by these proposed limitations on the subpoenas. Please explain why you do not
believe it is sufficient to begin by asking Mr. Diamond about all these subjects in his
deposition – the preferred first method for seeking such information, according to the
copious case law I sent you. Your citation of one Central District case cannot compete with
the list of cases from our district that are directly on point. Salas and Yellow are
employment cases in the Northern District and are dispositive on this issue. See also
United States EEOC v. AutoZone, Inc., No. 14-cv-3385, 2016 U.S. Dist. LEXIS 172999
*12-13 (N.D.Ill. Dec. 14, 2016), which I failed to include in my prior list.

We cannot agree to your compromise and continue to object to each of these subpoenas.
This is a routine employment discrimination case in which defendant’s counsel is
attempting to punish the plaintiff for having the temerity to sue his former employer by
issuing a flurry of subpoenas that could embarrass him (at a minimum) and even,
possibly, interfere with current or future business relationships. I will not allow that to
happen. I litigated this issue before Judge Cole approximately one year ago and I know
that he is sensitive to the issue and will rule accordingly.

Jamie




Jamie S. Franklin



53 W. Jackson Boulevard, Suite 803
Chicago, IL 60604

                                                                                         Page 2 of 7
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(312) 662-1015 (fax)
(312) 498-5143 (mobile)
website


From: Maria Boelen <mboelen@bakerlaw.com>
Date: Tuesday, November 26, 2019 at 4:55 PM
To: "jsf@thefranklinlawﬁrm.com" <jsf@thefranklinlawﬁrm.com>
Cc: "Manser, Debra" <DManser@bakerlaw.com>, "Ackerbaum Cox, Joyce" <jacox@bakerlaw.com>,
"Morris, Vicki R." <vmorris@bakerlaw.com>
Subject: RE: Diamond v. Siemens

Jamie,

We do not agree that the cases you cite are applicable because they either do not relate to claims of
discriminaUon or are from other jurisdicUons. We are enUtled to seek discovery that is broader that what may
be admissible and believe that we have a reasonable basis for doing so in this case. But in an eﬀort to resolve
this ma^er without engaging in moUon pracUce, we propose limiUng the subpoenas to Mr. Diamond’s prior
employers to the following requests:

         DocumentaUon pertaining to hire date, terminaUon date, the reason for terminaUon and the dates
         and/or reasons for any lay oﬀ during employment;
         Any and all documents reﬂecUng any write-ups, wri^en warnings, or other disciplinary acUon; and
         Documents related to grievances, complaints, and claims ﬁled by Mr. Diamond.

These requests are consistent with Cady v. Superior Pool Prod., LLC, No. 13-CV-1533, 2014 WL 6461393 (C.D.
Ill. Nov. 18, 2014). In parUcular, the requested informaUon is related to Mr. Diamond’s credibility and to
establishing that Mr. Diamond’s performance was unsaUsfactory. Siemens seeks to establish that Mr.
Diamond made prior similar unsupported allegaUons of discriminaUon and that he has been terminated from
prior posiUons based on the same performance type issues.

At this Ume, we are also willing to hold oﬀ on sending a subpoena to System4. We reserve the right to revisit
this subpoena based on Mr. Diamond’s document producUon and answers during his deposiUon. We also
reserve the right to revisit all of the subpoenas based on informaUon uncovered during discovery.

Regards,

Maria Boelen
Associate


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T +1.312.416.8174

mboelen@bakerlaw.com
bakerlaw.com




From: jsf thefranklinlawﬁrm.com <jsf@thefranklinlawﬁrm.com>
Sent: Tuesday, November 26, 2019 9:27 AM
To: Ackerbaum Cox, Joyce <jacox@bakerlaw.com>; Morris, Vicki R. <vmorris@bakerlaw.com>


                                                                                                           Page 3 of 7
         Case: 1:19-cv-03039 Document #: 26 Filed: 12/11/19 Page 44 of 67 PageID #:104


Cc: Boelen, Maria A. <mboelen@bakerlaw.com>; Manser, Debra <DManser@bakerlaw.com>
Subject: Re: Diamond v. Siemens

Joyce,

See the attached orders from our District granting motions to quash subpoenas in similar situations:

U.S., ex rel. Kenya Sibley, v. Handrup, M.D., Ltd., No. 13-cv-7733 (N.D.Ill.) (July 11, 2016) (Valdez, M.J.)

Salas v. 3M Company, et al., 08-cv-1614 (N.D.Ill.) (Aug. 28, 2008) (Cox, M.J.)

These orders discuss the relevant rules and case law and explain why the seven subpoenas you propose to serve
are inappropriate at this stage in the case.

See also

Shelvy v. Wal-Mart Stores, E., L.P., No. 11 CV 9176, 2014 WL 3882487, at *3 (N.D. Ill. Aug. 7, 2014); Brown v.
Yellow Transp., Inc., No. 08 C 5908, 2009 WL 3270791, at *5 (N.D. Ill. Oct. 9, 2009); Delgado v. Mak, No. 06C3757,
2008 WL 4367458, at *5 (N.D. Ill. Mar. 31, 2008); Guercia v. Equinox Holdings, Inc., No. 11 CIV. 6775, 2013 WL
2156496, at *4 (S.D.N.Y. May 20, 2013); Singletary v. Sterling Transp. Co., 289 F.R.D. 237, 241 (E.D. Va. 2012);
Blotzer v. L-3 Commc’ns Corp., 287 F.R.D. 507, 510 (D. Ariz. 2012); Moore v. PlasmaCare, Inc., No. 1:11-CV-
01090-SEB, 2012 WL 602623, at *2 (S.D. Ind. Feb. 23, 2012); Conrod v. Bank of New York, 1998 LEXIS 11634, *4
(S.D.N.Y. July 28, 1998), Richards v. Convergys Corp., 2007 WL 474012 at *1 (D. Utah Feb. 7, 2007), Perry v. Best
Lock Corp., 1999 WL 33494858, (S.D. Ind. 1999).

Best regards,
Jamie


Jamie S. Franklin



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(312) 498-5143 (mobile)
website


From: "Ackerbaum Cox, Joyce" <jacox@bakerlaw.com>
Date: Monday, November 25, 2019 at 5:08 PM
To: "jsf@thefranklinlawﬁrm.com" <jsf@thefranklinlawﬁrm.com>, "Morris, Vicki R."
<vmorris@bakerlaw.com>
Cc: Maria Boelen <mboelen@bakerlaw.com>, "Manser, Debra" <DManser@bakerlaw.com>
Subject: RE: Diamond v. Siemens

We disagree but please provide the case law upon which you rely and we will review the same. Thank you.

From: jsf thefranklinlawﬁrm.com <jsf@thefranklinlawﬁrm.com>
Sent: Monday, November 25, 2019 6:02 PM
To: Ackerbaum Cox, Joyce <jacox@bakerlaw.com>; Morris, Vicki R. <vmorris@bakerlaw.com>
Cc: Boelen, Maria A. <mboelen@bakerlaw.com>; Manser, Debra <DManser@bakerlaw.com>
Subject: RE: Diamond v. Siemens



                                                                                                               Page 4 of 7
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Counsel,

ContacUng current and prior employers is a tacUc used to inUmidate and harass, and the subpoenas seek
informaUon not reasonably related to the claims and defenses in this case. If you have quesUons about Mr.
Diamond’s work at prior employers, you can ask him at his deposiUon – that is the least intrusive and least
burdensome manner of seeking such informaUon. If your argument is that you need prior work records to
establish Mr. Diamond’s credibility, then issuing seven subpoenas is far overbroad. Even if relevant, the likely
beneﬁt of such discovery would be minimal and would probably be inadmissible at trial. The burden imposed
by such subpoenas would be very substanUal, as they could result in reputaUonal damage to the plainUﬀ.

I am happy to brief the issue and provide you with case law and recent orders from our district judges
quashing similar subpoenas, though I am sure you probably have that informaUon in your possession already.

Let me know your posiUon.

Thank you,
Jamie


Jamie S. Franklin


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(312) 662-1015 (fax)
(312) 498-5143 (mobile)
jsf@thefranklinlawﬁrm.com
website

From: Ackerbaum Cox, Joyce [mailto:jacox@bakerlaw.com]
Sent: Monday, November 25, 2019 4:45 PM
To: jsf thefranklinlawﬁrm.com <jsf@thefranklinlawﬁrm.com>; Morris, Vicki R. <vmorris@bakerlaw.com>
Cc: Boelen, Maria A. <mboelen@bakerlaw.com>; Manser, Debra <DManser@bakerlaw.com>
Subject: RE: Diamond v. Siemens

What is the basis for your objecUon?

From: jsf thefranklinlawﬁrm.com <jsf@thefranklinlawﬁrm.com>
Sent: Monday, November 25, 2019 5:37 PM
To: Morris, Vicki R. <vmorris@bakerlaw.com>
Cc: Ackerbaum Cox, Joyce <jacox@bakerlaw.com>; Boelen, Maria A. <mboelen@bakerlaw.com>; Manser,
Debra <DManser@bakerlaw.com>
Subject: RE: Diamond v. Siemens

Counsel,

I received the noUce that you intend to serve subpoenas on seven previous employers of Mr. Diamond. We
object to the service of any such subpoenas and intend to move to quash if service is a^empted. I am
available tomorrow to discuss.

                                                                                                            Page 5 of 7
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Best regards,
Jamie

Jamie S. Franklin


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A^ached please ﬁnd Defendant’s NoUce of Service of Subpoenas.

Thank you,
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